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                          IN THE UNITED STATES DISTRICT COURT
                           THE WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                                    Respondent


v.                                   No. 4:11-cr-40037-SOH-BAB-06
                                            No. 4:14-cv-4068

MARCUS SIMS                                                                                   Movant



                                                 ORDER

        Movant, an inmate currently confined to the Bastrop Federal Correctional Institution,

Bastrop, Texas, files this Motion for Leave to Appeal In Forma Pauperis (ECF No. 1535), in

connection with his appeal of this Court's denial of his Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255. I have reviewed the Application and find that Movant is entitled

to proceed in forma pauperis on appeal.1

        IT IS HEREBY ORDERED that the Motion for Leave to Appeal In Forma Pauperis (ECF

No. 1535) is GRANTED, and Movant is entitled to proceed with this matter without prepayment

of fees or costs.

        ENTERED this 3rd day of June 2015.


                                                           /s/ Barry A. Bryant
                                                          HON. BARRY A. BRYANT
                                                          U.S. MAGISTRATE JUDGE




        1
            By this finding I make no ruling or recommendation on the merits of Movant's appeal.
